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U.S. Departme Justice

United States Attorney
District of New Jersey
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Post Office Box 2008 Direct Dial: &36/968-4869
JASON M. RICHARDSON Camden, New Jersey G81 01
Assistant US, Attorney
April 5, 2006

Carl J. Herman, Esquire
443 Northfield Avenue
West Orange, New Jersey 07052

Re: Plea Agreement with Melissa Ramlakhan C5-kS B-GOY Chew )
Dear Mr, Herman:

This letter sets forth the plea agreement between your client, Melissa Ramlakhan, and the
United States Attorney for the District of New Jersey (“this Office’).

Charec

Conditioned on the understandings specified below, this Office will accept a guilty plea
from Melissa Ramlakhan to a two-count Superseding Information, Criminal No. 05-888 (FLW).
Count 1 of the Superseding Information charges Melissa Ramlakhan with conspiring between
January 1999 and December 2005, in the District of New Jersey and elsewhere to persuade,
induce, entice, and coerce individuals to travel in interstate and foreign commerce, to engage in
prostitution, or in any sexual activity, contrary to Title 18 United States Code, Section 2422(a}, in
violation of Title 18 United States Code, Section 371. Count 2 charges Melissa Ramlakhan with
conspiracy to commit money laundcring contrary to 18 U.S.C. § 1956, in violation of 18 U.S.C. §
1956(h). If Melissa Ramlakhan enters a guilty plea and is sentenced on these charges, and
otherwise fully complies with all of the terms of this agreement, this Office will not initiate any
further criminal charges against Mchssa Ramlakhan for involvement in Matthew Thompkins’
minor and adult prostitution and money laundering enterprise from in or about January 1999 to
December 2005. However, in the event that the judgment of conviction entered as a result of this
guilty plea does not remain in full force and effect, any dismissed charges and any other charges
that are not time-barred by the applicable statute of limitations on the date this agreement is
signed by Melissa Ramlakhan may be commenced against her, notwithstanding the expiration of
the limitations period after Melissa Ramlakhan signs the agrecment. Melissa Ramlakhan agrees
to waive any statute of limitations with respect to any crime that would otherwise expire afler
Melissa Rarmlakhan signs the agreement.

Sentencing

The violation of 18 U.S.C. § 371 in Count] to which Melissa Ramlakhan agrees to plead
guilty carries a statutory maximum prison sentence of 5 years, and a statutory maximum fine

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equal to the greatest of: (1) $250,000; (2) twice the gross amount of any pecuniary gain that any
persons denved from the offense; or (3) twice the gross amount of any pecuniary loss sustained
by any victims of the offense. The violation of 18 U.S.C. § 1956(h) in Count 2 to which Melissa
Ramlakhan agrees to plead guilty carries a statutory maximum prison term of 20 years, and a
statutory maximum fine equal to the greatest of: (1) $250,000; (2) twice the gross amount of any
pecuniary gain that any persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. The sentence on each count may run
consecutively, Fines imposed by the scntencing judge may be subject to the payment of interest.

The sentence to be imposed upon Melissa Ramlakhan is within the sole discretion of the
sentencing judge, subject to the provisions of the Scntencing Reform Act, 18 U.S.C. § 3551-3742
and the sentencing judge’s consideration of the United States Sentencing Guidelines. The United
States Sentencing Guidelines arc advisory, not mandatory. The sentencing judge may impose
any reasonable sentence up to and including the statutory maximum term of imprisonment and
the maximum statutory fine. This Office cannot and does not make any representation or
promise as to what guideline range may be found by the sentencing judge, or as to what sentence
Melissa Ramlakhan ultimately will receive.

Further, in addition to imposing any other penalty on Melissa Ramlakhan, the sentencing
judge: (1) will order Melissa Ramlakhan to pay an assessment of $100 per count pursuant to 18
U.S.C. § 3013, which assessment must be paid by the date of sentencing; {2} may order Melissa
Ramlakhan to pay restitution on Count 1 and will order Melissa Ramlakhan to pay restitution on
Count 2 pursuant to 18 U.S.C. §§ 3663 et seq.; (3) may order Melissa Ramlakhan, pursuant to 18
U.S.C, § 3355, to give notice to any victims of her offenses; (4) must order forfeiture, pursuant to
18 U.S.C. §§ 982 and 2253; and (5) pursuant tol8 U.S.C. § 3583, may require Melissa
Ramlakhan to serve a term of supervised release of up to three years on Count 1 and three years
on Count 2, which will begin at the expiration of any term of imprisonment imposed. Should
Melissa Ramlakhan be placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, Melissa Ramlakhan may be
sentenced to not more than 2 years' imprisonment as to Count 1 and not more than 2 years
impnsonment as to Count 2 in addition to any prison term previously imposed, regardless of the
statutory maximum term of imprisonment sct forth above and without credit for time previously
served on post-release supervision, and may be sentenced to an additional term of supervised
release.

Forfeiture

Melissa Ramlakhan agrees to forfeit to the Umied States pursuant to 18 U.S.C, §§ 982
and 2253 any property, personal or real, that constitutes or was derived from any proceeds she
obtained directly or indirectly as a result of her participation in the offenses for which she is
pleading guilty. In an effort to assist in this process, Melissa Ramlakhan agrees to provide a
complele wntten accounting of all assets, funds, property and/or trusts owned or controlled by
her within three weeks from the date that her guilty plea is entered before the Court.

3.

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Melissa Ramlakhan agrees to forfeit and abandon to the United States all property utilized
in or derived from his offense including, but not limited to: 16 Tall Tulip Lane, Yonkers, New
York; 719 2" Avenue, Galloway Township, New Jersey 08205; 2003 Land Rover RRV, VIN#
SALMB11423.A105441; and 2000 Mercedes Benz 500, VIN4 WDBPIJ75J4Y A007429.

Rights of this Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office reserves its nght to take any
position with respect to the appropriate sentence to be imposed on Melissa Ramlakhan by the
sentencing judge, to correct any misstatements relating to the sentencing proceedings, and to
provide the sentencing judge and the United States Probation Office all law and information
relevant to sentencing, favorable or otherwise. In addition, this Office may inform the sentencing
judge and the United States Probation Office of: (1) this agreement; and (2) the full nature and
extent of Melissa Ramlakhan's activities and relevant conduct with respect to this case.

Stipulations

This Office and Melissa Ramlakhan agree to stipulate at sentencing to the statements sct
forth in the attached Schedule A, which hereby is made a part of this plea agreement. This
agreement lo stipulate, however, cannot and does not bind the sentencing judge, who may make
independent factual findings and may reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate to a particular fact or legal conclusion, each
reserves the right to argue the existence of and the effect of any such fact or conclusion upon the
sentence. Moreover, this agreement to stipulate on the part of this Office is based on the
information and evidence thal this Office possesses as of the date of this agreement. Thus, if this
Office obtains or reccives additional evidence or information prior to sentencing that 11
determines to be credible and to be materially in conflict with any stipulation in the attached
Schedule A, this Office shall not be bound by any such stipulation. A determination that any
stipulation is not binding shall not release either this Office or Mclissa Ramlakhan from any
other portion of this agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-sentencing proccedings
that the sentencing court was within its discretion and authority to do so. These stipulations do
not restrict the Government’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Melissa Ramlakhan waive certain rights to file
an appeal, collateral attack, writ or motion after sentencing, including but not limited to an appeal
under 18 U.S.C. § 3742 or a motion under 28 U.S.C, § 2255.

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Other Provisions

This agreement is limited to the United States Attorney's Office for the District of New
Jersey and cannot bind other federal, state, or local authorities. However, this Office will bring
this agreement to the attention of other prosecuting offices, if requested to do so.

This agreement was reached without regard to any civil or administrative matters that
Tay be pending or commenced in the future against Melissa Ramlakhan, This agreement docs
not prohibit the United States, any agency thereof (including the Internal Revenue Service), or
any third party from initiating or prosecuting any civil proceeding against Melissa Ramlakhan.

No Other Promises

This agreement constitutes the plea agreement between Melissa Ramlakhan and this
Office and supersedes any previous agreements between them, No additional promises,
agreements, or conditions have been made or will be made unless set forth in writing and signed
by the parties.

Very truly yours,

CHRISTOPHER J. CHRISTIE
ited States Atto

‘ASON M. RICHARDSON

Assistant U.S, Attorney

SHERRI A. STEPHAN

Trial Attomey, Child Exploitation
and Obscenity Section

U.S. Department of Justice

By:

APPROVED:

WILLIAM E. FITZPATRICK
Deputy U.S. Attomey

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[have received this letter from my attorney, Carl Herman, Esquire, I have read it. 1
hereby accept the terms and conditions set forth in this letter and acknowledge that it constitutes
the plea agreement between the parties. ] further understand that I am giving up certain important
rights, including my right to trial by jury, my right to appeal the conviction and sentence in this
case, and my nght to file a petition for habeas corpus pursuant to 28 U.S.C. § 2255. I understand
that no additional promises, agreements, or conditions have been made or will be made unless set
forth in wniting and signed by the parties.

AGREED AND ACCEPTED:

Wag Kolo. tue 1-4-0

MELISSA RAMLAKHAN
Date: vie [06

CARL HERMAN, Esquire

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Plea Agreement, With Melissa Ramlakhan

Schedule A

1. This Office and Melissa Ramlakhan recognize that the United States Sentencing
Guidelines are not binding upon the Court. This Office and Melissa Ramlakhan nevertheless
agree to the stipulations set forth herein, and agree that the Couri should sentence Melissa
Ramlakhan within the Guidelines range that results from the total Guidelines offense level set
forth below. This Office and Melissa Ramlakhan further agree that neither party will argue for
the imposition of a sentence outside the Guidelines range that results from the agreed total
Guidelines offense level.

COUNT 1

2. The version of the United States Sentencing Guidelines effective November 1, 2005
applies in this case. The applicable guideline is U.S.8.G §§ 2X1.1 (conspiracy) and 2G1.1
{transportation in interstate commerce for the purposes of prostitution), as set forth below.

3. The applicable guideline is U.S.8.G. § 2G1.1 which caries with it a base offense level
of 14.

4. Pursuant to U.S.8.G. § 2G1.1(d)(1), if the relevant conduct of an offense of conviction
includes the promotion of prostitution or prohibited sexual conduct in respect 1o more than one
victim, whether specifically cited in the count of conviction or not, each such victim shall be
treated as if contained in a separate count of conviction.

a. A “victim” ig means a person transported, persuaded, induced, enticed, or
coerced to engage in, or travel for the purpose of engaging in, prostitution
ot prohibited sexual conduct, whether or not the person consented to the
prostitution or prohibited sexual conduct. U.S.8.G. § 2G1.1, Application
Note 1.

5. During the course of the conspiracy, the offense involved the transporlation of more
than six (6) women across state lines for the purposes of prostitution. Pursuant to U.S.S.G. §
2G1.1(d)(1), Chapter Three, Part D (Multiple Counts) shall be applied as if the promoting of
prostitution had been contained in a separate count of conviction.

6. During the course of the conspitacy, more than six (6) women were transported across
state Jines for the purposes of prostitution and each will be treated as a separate count. Each of
the six counts have an offense level of 14. Multiple counts involving more than one victim are
not grouped together under U.8.S.G. § 3D1.2 (d).

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7. These six offenses do not group together pursuant to U.S.S.G. § 301.2, and each
woman is considered a separate group, for a total of 6 units pursuant to U.S.8.G. § 3D1.4(a).

§. Pursuant to U.S.8.G, § 3D1.4, there are 6 or more units, requiring a 5 level upward
adjustment to the group with the highest offense level {1.e., offense level 14) for a total offense
level of 19,

9. Therefore the adjusted offense level for Count 1 is 19,

COUNT 2

10. The offense conduct covered the period from in or about January 1999, through in or
about December 2005,

11. The applicable guideline is U.S.S.G. § 281.1. This guideline carries a base offense
level of 24, which is the applicable guideline level for the conspiracy to transport minors in
furtherance of underlying specified unlawful activity, from which the laundered funds were
derived. U.S.S.G. § 251.1 (a)(1).

12. Melissa Ramlakhan was convicted under] U.S.C. $1956, the offense level is
increased by 2 levels. U.S.S.G. § 251.1(b)(2)(B).

13. Therefore, the adjusted offense level for Count 2 is 26.

ALL COUNTS

14. Pursuant to § 31D1.2(c), Count_1 and Count 2 group together for purposes of the
Guidelincs and shall be grouped together into a single group because one of the counts embodies
conduct that is treated as a specific offense characteristic in, or other adjustment to, the guideline
applicable to another of the counts.

15. Pursuant to § 31D1.3(a), the offense level applicable to a group is the offense level for
the most serious of the counts comprising the group. Therefore, Melissa Ramlakhan’s total
offense level is 26.

16. As of the date of this letter, Melissa Ramlakhan has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the offenses charged.
Therefore, a downward adjustment of 2 levels for acceptance of responsibility is appropriate if
Melissa Ramlakhan’s acceptance of responsibility continues through the date of sentencing. See
U.S.S.G, § 3E1.1 (a).

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17. Provided Melissa Ramlakhan signs and returns this agreement by MAY J], 2006, and
does not later indicate an intention not to enter a plea of guilty, thereby forcing the government to |
prepare for trial, the government will mave the sentencing judge, pursuant to §3E1.1(b), to
decrease the offense level by | additional level. This stipulation applies if Melissa Ramlakhan’s
acceptance of responsibility continues through the date of sentencin g and the offense level is 16
or greater.

18. In accordance with the above, the parties agrec that the total Guidelines offense level
applicable to Melissa Ramlakhan is 23 (the “agreed total Guidelines offense level”).

19, The parties agree not to seek or argue for any upward or downward departure or any
upward or downward adjustment not set forth herein. The parties further agree that a sentence
within the Guidelines range that results from the agreed total Guidelines offense leve] of 23 is
Teasonable,

20. Melissa Ramlakhan knows that she has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack, or any other writ
or motion, including but not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28
U.S.C. § 2255, which challenges the sentence imposed by the sentencing court if that sentence
falls within or below the Guidelines range that results from the agrced total Guidelines offense
level of 23, This Office will not file any appeal, motion or writ which chal lenges the sentence
imposed by the sentencing court if that sentence falls within or above the Guidelines range that
resulis from the agreed total Guidelines offense level of 23. The parties reserve any right they
may have under 18 U.S.C. § 3742 to appeal the sentencing court’s determination of the criminal
history category. The provisions of this paragraph are binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to herein. Furthermore, if the
sentencing court accepts a stipulation, both parties waive the right to file an appeal, collateral
attack, writ, or motion claiming that the sentencing court erred in doing so,

21. Both parties reserve the right to oppose or move to dismiss any appeal, collateral
attack, writ, or motion barred by the preceding paragraph and to file or to oppose any appeal,
collateral attack, writ or motion not barred by the preceding paragraph.

22. The defendant agrees to identify all assets over which the defendant exercises or
exercised control, directly or indirectly, within the past six (6) years, or in which the defendant
has or had during that time any financial interest. The defendant agrees to take all steps as
requested by the United States to obtain from any other parties by any lawful means any records
of assets owned at any time by the defendant. The defendant agrees to undergo any polygraph
examination the Uniled States may choose to administer conceming such assets and to provide
and/or consent to the release of the defendant's tax returns for the previous five years. Defendant
agrees 1o forfeit to the Uniied States all of the defendant's interests in ary asset of a value of more
than $1000 that, within the last six (6) years, the defendant owned, or in which the defendant
maintained an interest, the ownership of which the defendant fails to disclose to the United States

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in accordance with this agreement.

23. The defendant agrees to forfeit all interests in any prostitution and/or money
laundering-related asset that the defendant currently owns, has previously owned or over which
the defendant currently, or has in the past, excrctsed control, directly or indirectly, and any
property the defendant has transferred, as well as any property that is traceable lo, derived from,
fungible with, or a substitute for property that constitutes the procecds of her offense, including
but not limited to the following specific property:

a, The following real property commonly desctibed as:

(1) New York: 16 Tall Tulip Lane, Yonkers, New York 10710-2326;
(2) New Jersey: 719 2™ Avenue, Galloway Township, New Jersey
08205; and

(3) 3530 Holland Avenue, New York, New York mee
b. The following motor vehicles: ,

(1) 2003 Land Rover RRV, VIN# SALMB1 14234105441; and
(2) 2000 Mercedes Benz 500, VINH WDBPJ75J4YA007429,

c, Funds on deposit in account number:

(1) 0000873715 maintained in the name of Matthew D. Thompkins
and Melissa Ramlakhan located at the Municipal Credit Union, 2
Lafayctte Street, New York, New York: and

(2) 091-0903300-65 maintained in the name of Matthew D.
Thompkins and Melissa Ramlakhan, located at JP Chase Bank, |
Chase Manhattan Plaza, New York, New York.

Defendant warrants that defendant is the sole owner of all of the properly listed above, and agrees
to hold the United States, its agents and employees harmless from any claims whatsoever in
connection with the seizure or forfeiture of property covered by this agreement.

As part of the plea agreement, the government agrees not to seek forfeiture of 909 East 169
Street, Bronx, New York 10459-1083.

24. The defendant further agrees to waive all interest in any such asset in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or federal. The
defendant agrces to consent to the entry of orders of forfeiture for such property and waives the
requirements of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant acknowledges that he understands that

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the forfeiture of asscts is part of the sentence that may be imposed in this case and waives any
failure by the court to advise him of this, pursuant to Rule 11(b)(1)(J), at the time his guilty plea
is accepted,

25. The defendant further agrees to waive all constitutional and statutory challenges in
any manner (including direct appeal, habeas corpus, or any other means) to any forfeiture carried
out in accordance with this Plea Agreement on any grounds, including that the forfeiture
constitutcs an excessive fine or punishment. The defendant agrees to take all steps as requested
by the United States to pass clear title to forfeitable assets to the United States, and to testify
truthfully in any judicial forfeiture proceeding. Defendant acknowledges that all property
covered by this agreement is subject to forfeiture as procecds of illegal conduct, property
facilitating illegal conduct, property involved in illegal conduct giving rise to forfeiture, or
substitute assets for property otherwise subject to forfeiture.

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